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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                                      Case No. 5:21cr35-TKW

MARCEL JEAN MICHAUD,
KENNETH SIZEMORE,
DARRELL MICHAEL BRITT,
JOHNNY WAYNE CARR,
JAMES WILSON, and
DAVID BARRON,

     Defendants.
______________________________/

                         ORDER CONTINUING TRIAL

       This case is before the Court based on the joint motion to continue filed by

Defendants Barron, Michaud, Britt, and Wilson (Doc. 164). The Government does

not oppose the requested continuance.

       The motion represents that the other co-defendants (Sizemore and Carr) are

expected to enter pleas, and the docket reflects that a change of plea hearing has been

scheduled for Defendant Carr. Thus, although Defendants Sizemore and Carr did

not join the motion, the Court assumes they have no objection to a continuance of

their trials.

       Upon consideration of the motion, the Court finds that the ends of justice that

will be served by granting the continuance outweigh the interest of the public and
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all Defendants in a speedier trial. Specifically, the Court finds that the failure to

grant the requested continuance would deny counsel for all Defendants the

reasonable time necessary for effective trial preparation.          See 18 U.S.C.

§3161(h)(7)(B)(iv).

      Accordingly, it is ORDERED that the joint motion to continue trial is

GRANTED, and the trial scheduled for April 18, 2022, is canceled for all

Defendants. The Clerk shall re-notice the trial for all Defendants for June 13, 2022.

      DONE and ORDERED this 1st day of April, 2022.

                                T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE




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